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                                                                                            No. 2019-81187
                                                    RENEE JEFFERSON-SMITH                          §            IN THE DISTRICT COURT
                                                    Plaintiff,                                     §
                                                                                                   §
                                                    V.                                             §            270TH JUDICIAL DISTRICT
                                                                                                   §
                                                    CITY OF HOUSTON, TEXAS et.al.                  §
                                                    Defendants.                                    §            OF HARRIS COUNTY, TEXAS


                                                                          ORIGINAL ANSWER AND PLEA TO THE JURISDICTION
                                                    TO THE HONORABLE JUDGE DEDRA DAVIS:
                                                             Cynthia K. Bailey, (“Bailey”) files this Original Answer and Plea to the Jurisdiction and

                                                    shows in support the following:


                                                                                              BACKGROUND
                                                    1.       Cynthia K. Bailey is a citizen of the United States of America, is of sound mind and

                                                    without mental disability, has been fully discharged from her felony sentence, is a resident

                                                    of Texas, is a registered voter, and is long term resident of District B located in Houston,

                                                    Texas. Bailey was resident of District B for at least 12 months immediately preceding election

                                                    day.

                                                    2.       Bailey’s ‘Application For A Place On The City of Houston November 5, 2019 General

                                                    Election Ballot’ was signed in front of a notary on July 30, 2019 and received by the Mayor’s

                                                    Office on July 31, 2019 at 2:48 p.m.

                                                    3.       Bailey has openly campaigned that she served time in prison and that she is a

                                                    reformed member of our community.

                                                    4.       Circa August 29, 2019 local media outlets reported on her campaign and on the fact
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                                                    that Bailey served time in the penitentiary for a prior felony conviction. Additionally, the




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                                                    community has constructive notice of her past conviction based on public records obtainable

                                                    via the Harris County District Clerk website.

                                                    5.         On November 5, 2019 the election was held and the voters cast their votes for the

                                                    candidates of their choosing.

                                                    6.         On November 6, 2019, the ‘Cumulative Report—Unofficial’ indicated that Tarsha

                                                    Jackson won 20.84% (3,309) of the vote; Cynthia Bailey won 14.47% (2, 298) of the vote;

                                                    and Renee Jefferson-Smith received only 13.42% (2,130) of the vote. Pursuant to the City of

                                                    Houston Charter Section 8 (a) “The successful candidate for any office must receive a

                                                    majority of the votes cast in the election for [her] office and if no candidate for a particular

                                                    office receives a majority, a run-off election must be held as provided by the Texas Election

                                                    Code, Acts 1951, 52nd Legislature, page 1097, Chapter 492, Article 81 .”1

                                                    7.         The Texas Election Code states that “the candidates in a runoff election are the

                                                    candidates who receive the highest and second highest number of votes in the main election

                                                    or who tie for the highest number of votes.” TEX. ELEC. CODE § 2.023 (a). Therefore, the runoff

                                                    election pursuant to Texas law requires the ballot to consist of Tarsha Jackson and Cynthia

                                                    Bailey—not Renee Jefferson-Smith who failed to garner enough votes to be placed on the run

                                                    off ballot.

                                                    8.         Renee Jefferson-Smith has filed this action and this plea to the jurisdiction has

                                                    followed.

                                                    9.         Bailey attaches the affidavit attesting to these facts as exhibit one and incorporates

                                                    by reference as if it had been fully plead hereinafter.
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                                                    1
                                                        Run Off Elections are now codified under Chapter 2 of the Texas Election Code.
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                                                                                    ARGUMENTS AND AUTHORITIES
                                                    10.      Typically, a challenge to standing is raised in a plea to the jurisdiction. A plea to the

                                                    jurisdiction is a dilatory plea that seeks dismissal of a case for lack of subject matter

                                                    jurisdiction. Green Tree Servicing, LLC v. Woods, 388 S.W.3d 785, 787, 2012 Tex. App. LEXIS

                                                    6563, *1, 2012. Subject-matter jurisdiction cannot be waived or conferred by agreement. Id.

                                                    Subject matter jurisdiction is essential to the authority of a court to decide a case and is never

                                                    presumed. Devon Energy Prod. Co., L.P. v. KCS Res., LLC, 450 S.W.3d 203, 206, (Tex. App.—

                                                    Houston [14th Dist.] 2014, pet. denied). Mootness is a component of subject matter

                                                    jurisdiction. Id. The mootness doctrine prevents courts from rendering advisory opinions,

                                                    which they have no jurisdiction to issue. A case becomes moot if there ceases to be a

                                                    justiciable controversy between the parties, such as when the issues presented are no longer

                                                    "live." Id. The present case is moot because 1) Texas law prevents Bailey from being removed

                                                    from the ballot; and 2) Bailey is qualified to hold office.

                                                             I.       Texas law prevents an ineligible office holder from being removed
                                                                      from a runoff ballot.

                                                    11.      Plaintiff Jefferson in her original pleading falsely claims that Bailey “is not legally

                                                    entitled to be seated as the next Councilmember for District B.” (Pl. Orig. Pet. Page 2 ¶ 10).

                                                    Jefferson continues by inserting defamatory and false assertions that Bailey “may have

                                                    perjured herself by falsely asserting on her affidavit for public office that she was not an ex-

                                                    felon.” Both of these statements are completely false and shows Jefferson’s lack of

                                                    understanding of election law.

                                                    12.      But for the sake of argument and mere entertainment of Jefferson’s ridiculous and
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                                                    ignorant petition filed with this court, let’s assume Bailey is completely ineligible to hold

                                                    office. It is clear under Texas law, that “if a candidate in a runoff election dies or [is] declared
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                                                    ineligible before runoff election day, the candidate’s name shall be placed on the runoff

                                                    election ballot.2” TEX. ELEC. CODE 145.096 (b) (emphasis added). The legislature used plain

                                                    English that made it abundantly clear that even in the event of death or ineligibility the

                                                    candidate’s name must be placed on the runoff ballot. Therefore, Jefferson’s request to

                                                    remove Bailey’s name is improper and in contravention to the prevailing statutory law

                                                    prescribed by the legislature. The law precludes the Court from granting the relief Jefferson

                                                    has requested.

                                                    13.       The Texas Uniform Declaratory Judgments Act (UDJA) is a procedural device that

                                                    does not establish jurisdiction. Devon Energy Prod. Co., L.P. v. KCS Res., LLC, 450 S.W.3d 203,

                                                    206, (Tex. App.—Houston [14th Dist.] 2014, pet. denied). Additionally, The UDJA does not

                                                    create or enlarge a trial court's subject matter jurisdiction; it is merely a procedural device

                                                    for deciding cases already within a court's jurisdiction. Id. Thus, a declaratory judgment is

                                                    appropriate only if a justiciable controversy exists as to the rights and status of the parties

                                                    and the declaration will resolve the controversy. Id.

                                                    14.       TEX. CIV. PRAC. & REM. CODE ANN. § 37.008 provides that a court may refuse to render or

                                                    enter a declaratory judgment or decree if the judgment or decree would not terminate the

                                                    uncertainty or controversy giving rise to the proceeding. Devon Energy Prod. Co., L.P. v. KCS

                                                    Res., LLC, 450 S.W.3d 203, 206, (Tex. App.—Houston [14th Dist.] 2014, pet. denied). It appears

                                                    from Jefferson’s pleading that she argues that if the Court does not grant her relief the voters

                                                    will be harmed due to the allegation that Bailey is not qualified. However, the legislature has
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                                                    2 The revised law requires a candidate’s name to be placed on the ballot if the candidate is declared ineligible after the second

                                                    day before the beginning of absentee voting rather than on or after the 20th day before election day. The section standardizes
                                                    the law by providing that the name of a candidate in a runoff election who dies or is declared ineligible before runoff election
                                                    day is placed on the runoff election ballot. Tex. Elec. Code § 145.096(Revisor’s Notes)
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                                                    outlined in the Election Code that in the event a candidate is declared ineligible the

                                                    candidate’s name remains on the ballot.

                                                    15.      If Bailey was ineligible the uncertainty would still remain regardless of this Court

                                                    ruling against Bailey. Jefferson presumes that then she would be the second place Candidate

                                                    and therefore be entitled to the runoff. This is false. The Court in Osborn held that votes for

                                                    an ineligible candidate must be counted when the name appears on the ballot regardless if it

                                                    leads to a vacancy. In re Osborn, 2013 Tex. App. LEXIS 5916, *4, 2013 WL 2157712 (Tex. App.

                                                    Austin May 15, 2013).

                                                    16.      For example, in Osborn, the Candidate sought a writ of mandamus compelling the city

                                                    clerk to remove Candidate Green from the ballot due to failing to meet certain residency

                                                    requirements (i.e. being ineligible). In re Osborn, 2013 Tex. App. LEXIS 5916, *4, 2013 WL

                                                    2157712 (Tex. App. Austin May 15, 2013). The Court refused and held that even if Candidate

                                                    Green was ineligible his name must be placed on the ballot in accordance with section

                                                    145.096. Id

                                                    17.      Like Osborn, Jefferson asserts that Bailey is ineligible. Although Bailey is not ineligible,

                                                    see infra 17-22, the relief sought by Jefferson is statutorily barred and thus the Court does

                                                    not have a “live case-in-controversy” over the parties. Hence, the Court lacks subject matter

                                                    jurisdiction. Therefore, this Court must deny all relief requested by Jefferson and grant

                                                    attorney’s fees for Bailey.

                                                             I.       As a matter of law, Cynthia K. Bailey is qualified to hold the office
                                                                      as Council Member for District B thus the issue of being a qualified
                                                                      office holder is moot. Therefore, the Court lacks subject matter
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                                                                      jurisdiction.




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                                                    18.      Cynthia Bailey has been a resident of District B of Houston, Texas for at least 12

                                                    months prior to the November 5, 2019 election and is a qualified voter. Therefore, she is

                                                    qualified to be a Councilmember for District B. The City of Houston has a city Charter that

                                                    outlines the qualifications to hold office as a councilmember. According to section four of the

                                                    City of Houston Charter it states “to file for office as a District Council Member, a person must

                                                    be a qualified voter of the City who has resided in the territory encompassed by the City

                                                    Council District to be served for 12 months immediately preceding the election day.” See City

                                                    of Houston Charter § 4-Qualfications for Elected Officers (October 25, 2019) (emphasis

                                                    added).

                                                    19.      It is undisputed that Bailey or Jefferson have resided in District B for the 12 months

                                                    immediately preceding the election. Jefferson contends that Bailey “is an ex-felon whose

                                                    disabilities have not been restored or removed, which disqualifies her from holding public

                                                    office.” (Pl. Orig. Pet. Page 2 ¶ 9). This statement by Jefferson once again shows her lack of

                                                    understanding of the law and a blatant disregard for both statutory construction and

                                                    prevailing case law.

                                                    20.      The Texas Election Code holds that a “qualified voter” means a person who (1) is 18

                                                    years of age or order; (2) is a United States citizen; (3) has not been determined by a final

                                                    judgment of a cout exercising probate jurisdiction to be: (A) totally mentally incapacitated;

                                                    or (B) partially mentally incapacitated without the right to vote; (4) has not been finally

                                                    convicted of a felony or, if so convicted, has: (A) fully discharged the person’s sentence,

                                                    including any term of incarceration, parole, or supervision, or completed a period of
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                                                    probation ordered by any court; or (B) been pardoned or otherwise released from the

                                                    resulting disability to vote; (5) is a resident of this state; and (6) is a registered voter.

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                                                    21.      As outlined in paragraph one Bailey meets all the requirements to be a qualified voter.

                                                    Jefferson attempts to conflate the issue by using language from the code regarding “Eligibility

                                                    Requirements for Public Office” which state that to be eligible to be a candidate for public

                                                    office a person must “have not been finally convicted of a felony from which the person has

                                                    not been pardoned or otherwise released from the resulting disabilities.” Tex. Elec. Code

                                                    141.001 (a)(4). However, Jefferson failed to acknowledge that the Home-Rule City Candidate

                                                    provision governs ineligibility of candidates for city offices and that city charter supersedes

                                                    the Texas Election Code to the extent of any conflict. Tex. Elec. Code 145.097. Here, section

                                                    141.001 holds that a candidate has to be released from the resulting disabilities. Yet, the City

                                                    Charter only requires a candidate to be a “qualified voter” in order to become a

                                                    Councilmember.

                                                    22.      Therefore, if the Court finds a conflict between the election code and the charter then

                                                    the Court must follow the qualifications for eligibility (or ineligibility) that are outlined in

                                                    the City Charter due to the Home-Rule outlined in section 145.097 of the Election Code.

                                                    23.      When the Court reads the city charter it is mandated to acknowledge that Bailey

                                                    meets the minimum qualifications to hold elected office in Houston, Texas. Bailey is a

                                                    qualified voter and has resided in District B for the prescribed period so she may hold city

                                                    office. Therefore, the Court must deny all relief requested by Jefferson and award Bailey

                                                    attorney’s fees incurred from defending this frivolous claim.


                                                                                             CONCLUSION
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                                                    24.           In conclusion, this Court lacks subject matter jurisdiction because all relief

                                                    requested by Plaintiff Jefferson is moot. As a matter of law, the Court cannot remove an


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                                                    ineligible candidate from a runoff ballot. Also, the Home-Rule City Candidate provision states

                                                    that a city’s charter governs the ineligibility of candidates in a city election. Bailey meets the

                                                    city’s requirements to hold office. Therefore, there is not a live controversy the Court can

                                                    decide which eliminates the Court’s subject matter jurisdiction.


                                                                                           GENERAL DENIAL


                                                    25.      Cynthia K. Bailey Files this General Denial and demands strict proof in accordance

                                                    with the law.


                                                                                     REQUEST FOR ATTORNEY FEES


                                                    26.      Pursuant to the Texas Uniform Declaratory Judgments Act, Cynthia K. Bailey request

                                                    Renee Jefferson-Smith pay all reasonable and necessary attorney’s fees incurred defending

                                                    this suit.

                                                                                                PRAYER

                                                    27.      Cynthia Bailey prays for general relief. Cynthia Bailey prays that all relief request by

                                                    Renee Jefferson-Smith be denied and that judgment be granted against Renee Jefferson-

                                                    Smith in the amount of all reasonable and necessary attorney’s fees. Cynthia Bailey prays this

                                                    Court grants her plea to jurisdiction and deny Renee Jefferson-Smith request to exclude

                                                    Bailey from the runoff ballot.
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                                                    2019-81187                                                                               Page 8 of 9
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                                                                                                Respectfully submitted,



                                                                                                THE OLIVER J. LAW FIRM, PLLC.
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                                                                                                O: (713) 851-1110
                                                                                                C: (281) 788-8074
                                                                                                F: (281) 596-6951
                                                                                                oliver@theoliverjlawfirm.com


                                                                                                By:/s/Oliver J. Brown_____
                                                                                                   Oliver J. Brown, Esq.
                                                                                                   State Bar No. 24087222
                                                                                                   SD TX Fed Id. 2276574
                                                                                                   Attorney for Cynthia K. Bailey


                                                                                        Certificate of Service

                                                           I certify that a true copy of the ‘Original Answer and Plea to the Jurisdiction’ was
                                                    served on each attorney of record or party in accordance with the Texas Rules of Civil
                                                    Procedure on November 11, 2019.

                                                             Nicole Bates
                                                             Fax (713) 225-1301
                                                             Email: famjuv07@yahoo.com

                                                             Danval Scarbrough
                                                             Email: Dan.r.scarbrough@gmail.com

                                                                                                /s/Oliver J. Brown______________
                                                                                                Oliver J. Brown
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                                                             PLAINTIFF: JEFFERSON-SMITH. RENEE (INDIVIDUALLY AND AS A                                                                 In The   270th
                                                             CANDIDATE FOR DISTRICT                                                                                                   Judicial District Court
                                                                             vs.                                                                                                      of Harris County, Texas
                                                             DEFENDANT: CITY OF HOUSTON                                                                                               270TH DISTRICT COURT
                                                                                                                                                                                      Houston, TX
                                                                                                                                               CITATION
                                                             THE STATE OF TEXAS
                                                             County of Harris


                                                             TO: CITY OF HOUSTON BY SERVING THE CITY OF HOUSTON SECRETARY




                                                                                                       ~
                                                                    ANNA RUSSELL
                                                                    CITY OF‘ HOUSTON ANNEX


                                                             ~
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                                                             This instrument was filed on the                            in the above cited cause number
                                                             and court. The instrument attached describes the claim against you.
                                                                  ‘IOU HAVE‘. BEEN SUED, You may employ an attorney. If
                                                                                                                        you or your attorney do not file a
                                                             written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
                                                             next following the expiration of 20 days after you were served this citation and petition,
                                                             a default judgment may be taken against you.
                                                             TO OFFICER SERVING:
                                                                   This citation was issued on 11th day of November, 2019, under my hand and
                                                             seal of said Court.
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                                                             true copy of this Citation together with the accompanying
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                                                                                                                                                                           I       copy(ies) of the Petition
                                                             attached thereto and I endorsed on said copy of the Citation the                                                         ate of delivery.
                                                             To certify which I affix my hand officially this       day of                                                                                  ,
CertifiedDocumentNumber:88071924-Page1of1




                                                             FEE: 5

                                                                                                                                                                                                    County, Texas~

                                                                                                                      ’ “lb                                  By
                                                                                       Af    ant                                                                                      Deputy
                                                             On this day,                                            , known to me to be the person whose
                                                             signature appears on the foregoing retura personally appeared. After being by me duly sworn,
                                                             he/she stated that this citation was executed by him/her in the exact manner recited on the
                                                             return.




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              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 32 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88071924 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
                                                    Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 33 of 83 11/12/2019 5:36 PM
                                                                                                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                                            CAUSE N0.      201991187                                Envelope No. 38438386
                                                                                                                                                                                        By: Quaninshi Porter
                                                                                                                            RECEIPT N0.                                          Filed: 11/12/2019 5:36 PM
                                                                                                                                                                     0.00           CIV
                                                                                                                                      *"*"'"'*                              TR | 73594551
                                                             PLAINTIFF: JEFFERSON-SMITH, RENEE (INDIVIDUALLY AND AS A                                            In The    270th
                                                             CANDIDATE FOR DISTRICT                                                                              Judicial District Court.
                                                                                 vs.                                                                             of Harris County, Texas
                                                             DEFENDANT: CITY OF HOUSTON                                                                          270TH DISTRICT COURT
                                                                                                                                                                 HOIISCOD: TX
                                                                                                                                   CITATION
                                                             THE STATE OF TEXAS
                                                             County of Harris




                                                             T0: BAILEY, CYNTHIA KAY



                                                             ~                                                                             ~
                                                                     7830 FLINTRIDGE DRIVE                   HOUSTON        TX     77028
                                                                     Attached is 8 COPY of
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                                                             This instrument was filed on the                            in the above cited cause number
                                                             and court. The instrument attached describes the claim against you.
                                                                  YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
                                                             written answer with the District Clerk who issued this citation by 10:00 22.11: on the Monday
                                                             next following the expiration of 20 days after you were served this citation and petition,
                                                             a default judgment may be taken against you.
                                                             T0 OFFICER SERVING:
                                                                   This citation was issued on 11th day of November, 2019, under my hand and
                                                             seal of said Court.
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                                                                                                                                           MARILYN BURGESS, District Clerk
                                                             an-es, meow axsx-mun                                                          Harris County, Texas
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                                                             Came to hand at                  “E0 o'clock #4., on the                           day of                                 ,


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                                                                                                        County at                o'clock        .M., on the           day of
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                                                                             ,                                                                                    defendant, in person, a
                                                             true copy of this citation together with the accompanying                                   I     copy(ies) of the Petition
                                                             attached thereto and I endorsed on said copy of th                                 Citation the d te of         elivery.
                                                             To certify which I affix my hand officially this                                      day of                                  ,
CertifiedDocumentNumber:88071919-Page1of1




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                                                                                                                                           By
                                                                                                                                                                  Deputy
                                                             On this day,                                              known to me to be the person whose
                                                             signature appears on the foregoing rat~~~, personally appeared. After being by me duly sworn,
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                                                             he/she stated that this citation was executed by him/her in the exact manner recited on the
                                                             return.

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                                                             )I.1|f|'.CH'R.l‘                                               73694551‘
              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 34 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88071919 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                    Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 35 of 83 11/12/2019 5:36 PM
                                                                                                                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                                                 CAUSE NO.             201931187                                  Envelope No. 38438386
                                                                                                                                                                                                      By: Quaninshi Porter
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                                                             PLAINTIFF: JEFFERSON-SMITH, RENEE (INDIVIDUALLY AND As A                                                            In The     270th
                                                             CANDIDATE FOR DISTRICT                                                                                              Judicial District Court
                                                                           vs.                                                                                                   of Harris County, Texas
                                                             DEFENDANT: CITY OF HOUSTON                                                                                          270'1‘H DISTRICT COURT
                                                                                                                                                                                 HOUSCOI1 TX    ,

                                                                                                                                              CITATION
                                                             THE STATE OF TEXAS
                                                             County of Harris




                                                             TO: TRAUTMAN, DIANE


                                                                                                                                                                 ~
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                                                             This instrument was filed on the                            in the above cited cause number
                                                             and court. The instrument attached describes the claim against you.

                                                                  YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
                                                             written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
                                                             next following the expiration of 20 days after you were served this citation and petition,
                                                             a default judgment may be taken against you.
                                                             T0 OFFICER SERVING:
                                                                   This citation was issued on 11th day of November, 2019, under my hand and
                                                             seal of said Court.
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                                                                                                                                                       MARILYN BURGESS, District Clerk
                                                             BATES, NICOLE RISHAUN                                                                     Harris County, Texas
                                                             2010 NORTH LOOP WEST SUITE 175                                                            201 Caroline, Houston, Texas 77002
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CertifiedDocumentNumber:88071920-Page1of1




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                                                                                      Affiant                                                                                    Deputy

                                                             on this day,                                        mg mmaﬁg
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                                                             signature appears on the foregoing retdrn, personally appeared. After being by me duly sworn,
                                                             he/she stated that this citation was executed by him/her in the exact manner recited on the
                                                             return.

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              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 36 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88071920 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                    Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 37 of 83 11/12/2019 5:36 PM
                                                                                                                                                         Marilyn Burgess - District Clerk Harris County
                                                                                                                      CAUSE N0.     201981187                                 Envelope No. 38438386
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                                                                                                                                                                                  By: Quaninshi Porter
                                                                                                                      RECEIPT N0.                               0.00       Filed: 11/12/2019 5:36 PM
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                                                                                                                             '*****"'*                              TR 0 73694540
                                                             PLAINTIFF: JEFFERSON-SMITH,               mam-.15   (mnxvmuzmny mm AS A                       In The   270:),
                                                             czmnmnu-. FOR nxsuucm                                                                         Judicial District Court
                                                                             VB.                                                                           of Harris County, Texas
                                                             DEFENDANT: CITY OF HOUSTON                                                                    270TH DISTRICT COURT
                                                                                                                                                           Houston, TX
                                                                                                                          CITATION
                                                             THE STATE OF TEXAS
                                                             County of Harris




                                                             T0: HARRIS COUNTY TEXAS BY SERVING HONORABLE LINA HIDALGO
                                                                 1001 PRESTON STREET SUITE 911    HOUSTON TX 77002



                                                             This instrument was filed on the                            in the above cited cause number
                                                             and court. The instrument attached describes the claim against you.

                                                                  YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
                                                             written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
                                                             next following the expiration of 20 days after you were served this citation and petition,
                                                             a default judgment may be taken against you.
                                                             TO OFFICER SERVING:
                                                                   This citation was issued on 11th day of November, 2019, under my hand and
                                                             seal of aaid Court.
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                                                                                                                                 MARILYN BURGESS, District Clerk
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                                                             2010 NORTH LOOP WEST sums: 175                                      201 Caroline, Houston, Texas 77002
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                                                             HOUSTON, TX 77018
                                                             Tel: (713) 225_1‘-300                                          Generated By: PEREZ, ANITA IOJ//11376410
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                                                                                   Affiant                                                                 DeP“tY

                                                             on this day,                     /yzﬂmolf]              , known to me to be the person whose
                                                             signature appears on the foregoing redxrn, personally appeared. After being by me duly sworn,
                                                             he/she stated that this citation was executed by him/he: in the exact manner recited on the
                                                             return.

                                                             SWORN TO AND SUBSCRIBED BEFORE ME, on this                           day of

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              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 38 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88071922 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                                                                                   11/12/20199:04:47AM
                                                    Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD MarilynBurgess-DistrictClerk
                                                                                                               Page 39 of 83
                                                                                                                   HarrisCounty
                                                                                                                   EnvelopeNo:38403277
                                                                                                                   By:Systemuser,TexFile
                                                                                                                   Filed:11/12/20199:04:47AM
CertifiedDocumentNumber:88052166-Page1of1
              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 40 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88052166 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                           Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 41 of 83 11/12/2019 9:04 AM
                                                                                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                                                                                     Envelope No. 38403277
                                                                                                                                                                         By: Quaninshi Porter
                                                                                                                                                                  Filed: 11/12/2019 9:04 AM

                                                                                                CAUSE NO. 2019-81187
                                                    RENEE JEFFERSON-SMITH                                  §                 IN THE DISTRICT COURT OF
                                                                                                           §
                                                    v.                                                     §                 HARRIS COUNTY, TEXAS
                                                                                                           §
                                                    CITY OF HOUSTON, TEXAS; and                            §
                                                    HARRIS COUNTY, TEXAS                                   §                 270TH JUDICIAL DISTRICT
                                                                                      ANSWER
                                                               HARRIS COUNTY, TEXAS AND DIANE TRAUTMAN, COUNTY CLERK

                                                    TO THE HONORABLE JUDGE OF SAID COURT:
                                                               COMES NOW Defendants Harris County, Texas (the “County”) and Diane Trautman in
                                                    her official capacity as the Harris County Clerk (the “Clerk”). Together the County and Clerk are
                                                    referred to as the County Defendants (the “County Defendants”) and file this ANSWER and would
                                                    show unto the court the following:
                                                                                                    I.         General Denial
                                                    1. Subject to such stipulations and admissions as may be hereinafter made, Defendants assert a
                                                           general denial as authorized by TEX. R. CIV. P. 92, and respectfully request that the Plaintiff be
                                                           required to prove the charges and allegations against the Defendants as required by the
                                                           Constitution and Laws of the State of Texas.
                                                                                                 II. Nominal Defendants
                                                    2. The County Defendants allege they are nominal defendants herein as they have no interest in
                                                           the substance of the outcome of the matter other than to comply with any legal and valid final
                                                           decision impacting the election ballot.1
                                                                                               III. Ballot Lockdown Date
                                                    3. In order to timely manage the December 14, 2019 joint runoff election the ballot lockdown
CertifiedDocumentNumber:88052165-Page1of3




                                                           date is November 15, 2019 requiring a final decision affecting change to the ballot, if any, on
                                                           or before November 14, 2019.2
                                                                                                          IV. Relief
                                                               WHEREFORE, PREMISES CONSIDERED, the Harris County Defendants pray a final
                                                    decision affecting change to the ballot, if any, be rendered on or before November 14, 2019.

                                                    1
                                                        Tex. Election Code § 145.003-145.004.
                                                    2
                                                        See Exhibit A, the attached Affidavit of Michael Winn, Administrator of Elections for the Harris County Clerk.

                                                    1|P age
                                                       Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 42 of 83




                                                                                                      Respectfully submitted,

                                                                                                      VINCE RYAN
                                                                                                      Harris County Attorney
                                                                                                      /s/ Randall Smidt
                                                                                                      Assistant County Attorney
                                                                                                      SBN 00798509
                                                                                                      1019 Congress, 15th Floor
                                                                                                      Houston, Texas 77002
                                                                                                      (713) 274-5167
                                                                                                      (713) 755-8924 Fax
                                                                                                      Randall.Smidt@cao.hctx.net

                                                                                   CERTIFICATE OF SERVICE
                                                           I hereby certify that a true and correct copy of the above and foregoing instrument was
                                                    served on all parties of record pursuant to TEX. R. CIV. P. 21 & 21a.

                                                    Oliver J. Brown
                                                    SBN 24087222
                                                    The Oliver J. Law Firm, PLLC
                                                    4141 Southwest Freeway, Suite 425
                                                    Houston, Texas 77027
                                                    713-851-1110
                                                    281-788-8074 Cell
                                                    281-596-6951 Fax
                                                    ATTORNEY FOR DEFENDANT
                                                    CYNTHIA KAY BAILEY

                                                    Nicole R. Bates
                                                    SBN 24045171
                                                    Efile Email: haven0305@yahooo.com
                                                    Email: famjuv07@yahoo.com
                                                    Danval Scarbrough
                                                    SBN 24073023
CertifiedDocumentNumber:88052165-Page2of3




                                                    Efile Email: dan.r.scarbrough.esq@gmail.com
                                                    Email: dan.r.scarbrough@gmail.com
                                                    Law Offices of Nicole R. Bates
                                                    2010 North Loop West, Suite 175
                                                    Houston, Texas 77018
                                                    713-225-1300
                                                    713-225-1301 Fax
                                                    ATTORNEYS FOR PLAINTIFF
                                                    RENEE JEFFERSON-SMITH


                                                    2|P age
                                                       Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 43 of 83




                                                    Judith L. Ramsey
                                                    Chief, General Litigation Section
                                                    SBN 16519550
                                                    Judith.ramsey@houstontx.gov
                                                    Charles Hamilton Houston III
                                                    Assistant City Attorney
                                                    SBN 24004708
                                                    900 Bagby Street, 4th Floor
                                                    Houston, Texas 77002
                                                    832-393-6468
                                                    832-393-6259 Fax
                                                    ATTORNEYS FOR DEFENDANT,
                                                    CITY OF HOUSTON




                                                    November 12, 2019
                                                                                             /s/ Randall Smidt
                                                                                             Randall Smidt
CertifiedDocumentNumber:88052165-Page3of3




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              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 44 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88052165 Total Pages: 3




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                               ~            Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 45 of 83


                                                                                                                                              CASE No. 992069

                                                               THE STATE or TExAs
                                                                                                                              INCIDENT NO./TRN: 908505038X-A002

                                                                                                                                                           §             IN THE 1781'“ DISTRICT
                                                                                                                                                                                                                                         \f   W
                                                               V-                                                                                          g             COURT
                                                               CYNTHIA KAY BAILEY                                                                          E             HARRIS COUNTY, TExAs
                                                               STATE ID No.: TX03295635                                                                    §

                                                                        JUDGMENT OF CONVICTION BY COURT—WAIVER OF JURY TRIAL
                                                               Judge Presiding:                 Hon.JON N. HUGHES                                           .§f{§;“e‘;f“”°“‘                    6/1/2007

                                                               Attorney for sum;                D. GOOD                                                     g;',g;;,<=g;;3r                 w. COLEMAN

                                                               THEF'I‘ >= $200,000

                                                               INDICTMENT                                                                                  NIA
                                                                      THRU 02/04/04
                                                               6/12/2003                                                                                                                                  '        '
                                                                                                                                                                                                                                 on        W
                                                               1ST DEGREE FELONY                                                                           GUILTY                                       N/A
                                                               WITHOUT AGREED RECOMIVIENDATION
                                                               Plea to 1" Enhancement                                                               Plea to 2'“ Enhancement/Habitual
                                                               Paragraph:                                           N/A                             Paragraph:                                                     N/A
                                                               Findings on 1" Enhancement                                                           Findings on 2”‘
                                                               Paragraph:                                           N/A                             Enhancement/Habitual Paragraph:                                N/A
                                                               Date Sentence Imposed:               6/1/2007                                        Date Sentence to Commence:                      6/1/2007

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                                                                                                    10 YEARS INSTITUTIONAL DIVISION, TDCJ
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                                                                                           _




                                                               s N/A                        s 226.00
                                                        Sex Offender  Registration    Requirements     do not apply to the Defendant. TEX. CODE CRIM. Paoc. chapter 62
                                                    (‘I
                                                    Q5 The age of the victim at the time of the offense was N/A
CertifiedDocumentNumber:88083886-Page1of3




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                                                               All pertinent l.ntoI-motion. names and nneennents indicated above are incorporated into the language ofthe judgment below hy rderence.
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                                                                This cause was called for trial in Harris County, Texas. The State appeared by her District Attorney.
                                                    Number

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                                                                          I Waiver gt Qggggl [select one)
                                                               X
                                                          Defendant appeared in person wit.h Counsel.
                                                               U
                                                          Defendant knowingly, intelligently, and voluntarily waived the right to representation by counsel in writing in open court.
                                                                 Both parties announced ready for trial. Defendant waived the right of trial by jury and entered the plea indicated above.
                                                       The Court then admonished Defendant as required by law. It appeared to the Court that Defendant was mentally competent to
                                                    Document




                                                       D   d trial, made the plea freely and voluntarily. and was aware of the consequences of this plea. The Court received t.he plea and
                                                    E entered it of record. Having heard the evidence submitted, the Court found                               nse indicated above. In the
                                                                                                                                                                                            '
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                                                    5; presence of Defendant, the Court   pronounced   sentence against Defendant.
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                                                    L)                                                                 BAILEY oazoemam                                                                                      ‘l   me me o, ‘mom
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                                                                             Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 46 of 83


                                                                    CAUSE #: 992069 DEF:BAILEY
                                                                     The Court FINDS Defendant committed the above offense and ORDERS, ADJUDGES AND DEGREES that Defendant is
                                                               GUILTY of the above offense. The Court FINDS the Presentence Investigation, if so ordered, was done according to the applicable
                                                               provisions of TEX. CODE CRIM. PROC. art. 42.12 5 9.
                                                                        The Court ORDERS Defendant punished as indicated above. The Court ORDERS Defendant to pay all ﬁnes, court costs, and
                                                               restitution as indicated above.
                                                                               hm
                                                               X Conﬁnement in State Jail or lnstituﬁannl Division. The Court ORDI-ms the authorized agent of the State of Texas or the
                                                               Sheriﬁ of this County to take, safely convey, and deliver Defendant to the Director, Institutional Division, TDCJ. The Court
                                                               ORDERS Defendant to be conﬁned for the period and in the manner indicawd above. The Court ORDERS Defendant remanded to the
                                                               custody of the Sheriff of this county until the Sheriff can obey the directions of this sentence. The Court ORDERS that upon release
                                                               from conﬁnement, Defendant proceed immediately to the Harris County Dian-ict Clerk's ofﬁce. Once there, the Court ORDERS
                                                               Defendant to pay, or make arrangements to pay, any remaining unpaid ﬁnes, court costs, and resIa‘tuh'on as ordered by the Court
                                                               above.
                                                               D County Jail—Conﬁnement Conﬁnement in Lieu of Payment. The Court ORDERS Defendant immediately committed to
                                                                                                    I
                                                               the custody of the Sheriff of Harris County, Texas on the date the sentence is to commence. Defendant shall be conﬁned in the
                                                               Harris County Jail for the period indicated above. The Court ORDERS that upon release from conﬁnement, Defendant shall
                                                               proceed immediately to the Harris County District Clerk’: oﬁoe. Once there, the Court ORDERS Defendant to pay, or make
                                                               arrangements to pay, any remaining unpaid ﬁnes, court costs, and restitution as ordered by the Court above.
                                                               Cl Fine Only Payment. The punishment assessed against Defendant is for a FINE ONLY. The Court ORDERS Defendant to proceed
                                                               immediately to the Ofﬁoe of the Harris County District Clerk. Once there, the Court ORDERS Defendant to pay or make
                                                               arrangements to pay all ﬁnes and court costs as ordered by the Court in this cause.

                                                               E The Court ORDERS Defendant's sentence EECUTED.
                                                               CI The Court ORDERS Defendants sentence of confinement SUSPENDED. The Court ORDERS Defendant placed on community
                                                               supervision for the adjudged period (above) so long as Defendant abides by and does not violate the terms and conditions of
                                                               community supervision. The order setting forth the terms and conditions of community supervision is incorporated into this
                                                               judgment by reference.
                                                                       The Court ORDERS that Defendant is given credit noted above on this sentence for the time spent incarcerated.
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                                                               Signed and entered on June 1, 2007
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                                                                                                                                          JUDGE PRESIDING
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                                                               Mandate Received:

                                                               Alter Mandate Received, Sentence to Begin Date is:

                                                               Received on                                        at                                AM I PM       V




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                                                                                                                                Deputy Sheriﬂ‘ of Harris County
                                                    2 By:
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                                                               Clerk: N. MILLS

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                                                         I, Marilyn Burgess, District Clerk of Harris

                                                         County, Texas certify that this is a true and
                                                         correct copy of the original record ﬁled and or
                                                         recorded in my office, electronically or hard
                                                         copy, as it appears on this date.
                                                         Witness my official hand and seal of office
                                                         this     November 7, 2QI2


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                                                         Marilyn Burgess, DISTRICT CLERK
                                                         HARRIS COUNTY. TEXAS
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                                                    In accordance with Texas Government Code 406.013 electronically transmitted authenticated
                                                    documents are valid. If there is a question regarding the validity of this document and or seal
                                                    please e—maiI support@hcdistrictclerk.com
              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 48 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88083886 Total Pages: 3




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
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                                                       APPLICATION  Case
                                                                      FOR A4:19-cv-04482               Document 1-2 Filed on 11/14/19 in TXSD Page 49 of 83
                                                                                PLACE ON TI-I11‘. CITY OF HOUSTON NOVEIVIBER 5, 2019 GENERAL ELECYION BALD01‘
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                                                                    Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 50 of 83



                                                                                            ACKNOWLEDGMENT OF RECEIPT
                                                                                              CITY OF HOUSTON
                                                                                 GENERAL ELECTION TO BE HELD NOVEMBER 5, 2019
                                                                          immediately upon receipt of the election packet, please complete this
                                                                                                                                                 form
                                                                  acknowledging that you have received the items listed below. Please
                                                                                                                                           return this
                                                                  completed form to the Mayor's Office along with your application for a
                                                                                                                                         place on the
                                                                  ballot or your declaration of write-in candidacy.                                            '




                                                                  NAME OF CANDIDATE                  C   ii//i/‘.Li»/‘   ‘L   E) LL/‘Vi 34/
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                                                              I   hereby acknowledge that received the following documents:
                                                                                                 I




                                                                       1)      Copy of Personal Financial Statement to be ﬁled with the City Secretary
                                                                               on or before September 9, 2019. Tex. Local Gov. Code §145.004(c); §1B-
                                                                               21 (c). City of Houston Code of Ordinances.

                                                                       2)      information       concerning‘ solicitation                   and   acceptance       of    campaign
                                                                               contributions.




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                                                                                                                          Pn'ntéd Name of individual    ’

                                                                                                                          Receiving Documents
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                                                                                                                          Signature of individual Recelviﬂg
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                                                             Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 51 of 83



                                                                                        CANDIDATE CONTACT INFORMATION
                                                                                                 (ALL INFORMATION Is VOLUNTARY)
                                                                    Please Print All information Ciearl and Return this form to the Ma or's
                                                                                                                      Office
                                                                   Please note: Current Ofﬁceholders/employees should not list their City mailing
                                                                                    address, phone number, or email address.                                        »
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                                                            NAME OF CANDIDATE


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                                                           OTHER CONTACT INFORMATION




                                                             I   am voluntarily submitting the above contact information so that may be posted            it

                                                             to the City's‘website and provided to the public and the media.
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CertifiedDocumentNumber:88083887-Page3of4




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                                                                                                                     Date

                                                            ARE YOU A CURRENT OR FORMER CITY OF HOUSTON EMPLOYEE? ___YES JLNO
                                                            ARE YOU A CURRENT PEACE OFFICER AS DEFINED BY ARTICLE 2.12 OF THE CODE OF
                                                            CRIMINAL PROCEDURE OR ONE OF THE INDIVIDUALS LISTED IN TEX. GOV'T CODE §
                                                            552.1175(a) (full text on next page)?          __YES _K_NO                   ~




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                                                      Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 52 of 83




                                                           I,   PAT J. DANIEL, Assistant City Secretary of the City of
                                                                                                                         Houston, Texas, do hereby certify
                                                    that the within and foregoing is a true
                                                                                              and correct copy of the application for a place on
                                                                                                                                                   the ballot
                                                    received from Cynthia Kay Bailey, as the same
                                                                                                       appears in the records of my ofﬁce.

                                                           WITNESS my hand and the Seal of said City this 7th day of
                                                                                                                            November 2019.




                                                                                                           Assistant City Secretary of the City of Houston
CertifiedDocumentNumber:88083887-Page4of4
              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 53 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88083887 Total Pages: 4




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
                                                         Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 54 of 83



                                                                                           NO.


                                                    RENEE JEFFERSON-SMITI-I                              §     IN THE DISTRICT COURT
                                                    Plaintiff,                                           §
                                                                                                         §
                                                    V.                                                   §
                                                                                                         §             TH JUDICIAL DISTRICT
                                                    CITY OF HOUSTON, TEXAS; and HARRIS                   §
                                                    COUNTY, TEXAS                                        §
                                                                                                         §
                                                    Defendants.                                          §     OF HARRIS COUNTY, TEXAS
                                                                                                    AFFIDAVIT
                                                            BEFORE ME, the undersigned authority, on this day personally appeared RENEE JEFFERSON-
                                                    SMITH, who swore on oath that the following facts are true:
                                                            "I   am the Plaintiff in this cause, as well as a Candidate for District B, City of Houston, a

                                                    registered voter in District B, City of Houston and my address is 9110 Lavender Street, Houston, Texas


                                                    77016, Houston, Harris County, Texas. I have personal knowledge of the facts stated above, and they are

                                                    true and correct."




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                                                                         Notary JD 129824840
              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 55 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88083888 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
                                                      ®            Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 56 of 83


                                                                                                                                                                   CASE No. 992069

                                                                                                                                                                                                                                                                                             W
                                                                                                                                          INCIDENT NO./TRN: 903505038X-A002

                                                     THE STATE or-‘ TEXAS                                                                                                                        9                             IN THE 17875 Dxsnucr                                   ‘f
                                                     V-
                                                                                                                                                                                                 g                             COURT
                                                     CYNTHIAKAYBAILEY                                                                                                                            2                             HARRIS COUNTY, TEXAS
                                                     S1ﬂzIDNo.: TX03295635                                                                                                                      §

                                                              JUDGMENT
                                                               tété OF CONVICTION BY COURT—WAIVER OF JURY TRIAL
                                                     Judge Presiding       JON N. rruanns
                                                                                     Hon.                                                                                                            §;‘,;je‘;f="‘“‘                                      6/1/2007
                                                     Attorney for sum 1). GOOD                                                                                                                                                                           w. COLEMAN
                                                                                                                                                                                                 1‘§:}f,'n'§3'n§j?’



                                                     THEFT >= $200,000
                                                     INDICTMENT                                                                                                                             N/A
                                                    :I9.e.ta_n_Qﬂennz
                                                     G/12/2003 THRU 02/0404

                                                    1ST DEGREE FELONY                                                                                                                       GUILTY                                                               N/A
                                                    Immntﬂcalnxeim
                                                    WITHOUT AGREED RECOIVHVIENDATION
                                                    Plea to 1* Enhancement                                                                                                     Plea to 2"‘ Enhancement/I-labltual
                                                    Paregraplu                                                    N/A                                                          Paragmalu                                                                              N/A
                                                    Findings on 1“ Enhancement                                                                                                 Findings on 2""
                                                    Paragraph:                                                    N/A                                                          Enhancemerm/Habitual Pﬁaph:                                                            N/A
                                                    DEW 39n¢°ﬂ°81mP°l°d«‘                         6/1/2007                                                                     Date Sentence to Commence:                                                  6/1/2007
                                                    *""“"“"°“‘ "“‘ ”“‘°°
                                                    of Conﬁnement:                                10 YEARS INSTITUTIONAL DIVISION, TDCJ
                                                                                                                      1-ms amvrnmm emu. nun                                                               CONCURRENTLY.
                                                     D smrmnce or CONFINEMENT susmnn. DEFENDANT FLA                                                                                                                        on commurrv supnnvrsron non N/A YEARS.
                                                     N/A                                                          s 228.00                        $ N/A                                                           D VICTIM (lee below) U AGENCYIAGENT                                       (see below)




                                                                                                                                          ~
                                        N Sex Oﬂender Registration Requirements do not apply to the Defendant. TEX. CODE Cam. PROO. dutpter 62
                                        3 The a of the victim at the time of the offense was N/A
CertifiedDocumentNumber:88088340-Page1of2




                                                                                                                                                                           .



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                                        E)                           From 6/23/2004 to WW2004
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                                     §                               N/A DAYS                                 NOTES:
                                                    All pertinlntlnfonnatiomnnrnneuwdneeunsentelndloeted Ibovearelneorpontedlntothelnngunueolthejndpnenthdowbynhrmu.
                                                              This cause was called for trial in Harris County, Texas. The State appeared by her Dietrlct Attorney.
                                                                                                              0
                                   Number




                                        X Defendant appeared in pernon with Counsel.
                                                                                                                                            I18

                                      E D Defendant knowingly,              and voluntarily waived the right representation by counsel in writing in open
                                                                                                 intelligently,                                                                                                   to                                                                   court.
                                           g   Both partlee
                                                          announced ready for trial. Defen                                                             ~
                                                                                                                                                               =
                                                                                                                                                                       V           .   -:   --            -   =   -   A-   -    ~-   =
                                                                                                                                                                                                                                         hyjury and enteredthepleaindlcatedabove.
                                   The Court then admonished Defendant as required by In                                                                                                                                                 ~
                                                                                                                                                                                                                                           at Defendant was mentally competent to
                                3 stand trial, made the plea freely and voluntarily, and w                                                                                                  EXHIBIT
                                                                                                                                                           ~




                                                                                                                                                                                                                                          fthis plea. The Court received the plea and
                                                                                                                                                                                                                                             ~~~

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                                '3 entered it of record. Having heard the evidence submit                                                                  »
                                                                                                                                                                                                                                           guilty ofthe oﬂhnee indicated above. In the
                                   presence ofDefendant. the Court pronounced sentence a
                                3:
                                                                                                                                                                                                                                                                     RECORDERSIEIIORANDUII
                                                                                                                       BAILEY 998069.64»                                                                                                                          Tl|BiMfIlI'|entI0lP00TQl-|lW
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                                                                          Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 57 of 83


                                                                   CAUSE S: 992069 DEF':BAILEY
                                                                     The Court FINDS Defendant committed the above offense and ORDERS, ADJUDGES
                                                               GUILTY ofthe above offense. The Court Fume the Presentence investigation,                  AND DEGREES that Defendant is
                                                                                                                                         if so ordered, was
                                                                                                                                                        done according to the applicable
                                                              provisions o£'1‘sx. Cone Cam. Pnoo art. 42.12 § 9.
                                                                       The Court ORDERS Defendant punished as indicated above. The Court ORDERS Defendant
                                                                                                                                                          to pay all ﬂnol, court costs, and
                                                              restitution as indicated above


                                                              ESheriifof
                                                                   Confinement in State Jail or Institutional Division. The Court Owns the authorised szent cfthe State      of'i‘exss or the
                                                                      this County to take, sefely convey, and deliver Defendant to the
                                                                                                                                       Director, Institutional Division, TDCJ. The Court
                                                              ORDERS Defendant to be conﬁned for the period end in the manner indicated above. The     Court ORDERS Defendant remanded to the
                                                              custody ofthe Sheriﬂofthis county until the Sheriifcan obey the directions of this sentence. ’l‘he
                                                                                                                                                                 Court Onnns that upon release
                                                              from conﬁnement, Defendant proceed immediately to the Harris County District Cles-k's
                                                                                                                                                          otﬂee. Once there, the Court Ono
                                                              Defendant to pay, or make arrangements to pay, any remaining unpaid ﬁnes, court cash, and resﬁtuﬁon
                                                                                                                                                                        as ordered by the Court
                                                              above.
                                                              Dthe County Jail-—Conllnesnent Conﬁnement in Lieu of Payment. The Court ORDERS Defendant immediately committed
                                                                                                 I
                                                                                                                                                                                                            to
                                                                  custody of the Sheriff of Harris County, Texas on the date the sentence is to commence. Defendant
                                                              Harris County Jail for the period indicated above. The Court ORDERS that upon release from conﬁnement, be conﬁned in the
                                                                                                                                                                        shall
                                                                                                                                                                           Defendant shall
                                                              proceed immediately to the Harris County District Clerk's office. Once there, the Court ORDERS Defendant
                                                                                                                                                                              to pay. or make
                                                              arrangements to pay, any remaining unpaid ﬁnes, court costs, and restitution as ordered
                                                                                                                                                      by the Court above.
                                                              CI Fine Only Payment. The punishment assessed against Defendant is for e um: ONLY. The Court Onnms Defendant to
                                                                                                                                                                                           proceed
                                                              immediately to the Oﬁoc of the Harris County District Clerk. Once there, the Court ORDERS Defendant to
                                                                                                                                                                              pay or make
                                                              arrangements to pay all ﬁnes and court costs as ordered by the Court in this cause.
                                                                       -',~.\-or - In                  u ~ -- .~ >.~
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                                                                  The Court Osnnns Def ndent’s sentence nncuwsn.
                                                              D   The Court Onnms Defendants sentence of conﬁnement SUSPENDED. The Court ORDERS Defendant placed on
                                                              supervision hr the adiudgod period (above) so long as Defendant abides by and does not violate the terms
                                                                                                                                                                                community
                                                                                                                                                                       and conditions of
                                                              community supervision. The order setting forth the terms and conditions of communiw supervision is incorporeted into this
                                                              judgment by reference.
                                                                     The Court ORDERS that Defendant is given credit noted above on this sentence for the ﬁxne spent incarcerated
                                                                                           {I   s.-as-u           .«=            «,,«'.':u.'   :~.'-   =_,-2.24:                            22-‘

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                                                              Signed and enteredonJune 1, 2007
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              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 58 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88088340 Total Pages: 2




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     HARRIS COUNTY, TEXAS




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                                                                                    Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 59 of 83
                                                             IAPFI-JC.ATI0N          F.%fLACE ON THE CITY OF HOUSTON NOVEMBER 5, 2019 GENERAL ELECTION BALLOT
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                                                             NUMBERED ITEMS DESIGNATED AS ‘MANDATORY’ (1.2, 4, 10. ll. Ind 12) MUSTBE COMPLE'I‘ED OR
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              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 60 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
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     Witness my official hand and seal of office
     this November 14, 2019


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                                                    Case 4:19-cv-04482 Document 1-2 EXHIBIT
                                                                                     Filed on1 11/14/19 in TXSD Page 61 of 83


                                                                                                       No- 291281131
                                                           RENEE IEFFERSON-SMITH                            §             IN THE DI5'I'|l|Cl' COURT
                                                           Plaintiff,
                                                                                                            §
                                                                                                            5
                                                           V.
                                                                                                            §            ZTOTH JUDICIAL DISTRICT
                                                                                                            §
                                                           CITY OF HOUSTON. TEXAS eta].
                                                                                                            §
                                                           Defendants.                                      §            OF HARRIS COUNTY, TEXAS


                                                          BEFORE ME. the undersigned afﬁant. on this day personally appeared
                                                                                                                             Cynthia K. Bailey. who
                                                          swore under oath that the following facts are true:
                                                          ‘Iam a defendant in the above cause and style and a Candidate in the
                                                                                                                               runoffelectlon to be a
                                                          councilmember for District 8 of Houston, Texas.
                                                          "I have
                                                                 reviewed the background facts of my ‘Original Answer and
                                                                                                                          Plea to the |urisdiction'
                                                          and acknowledge that they are true and conect to the best of
                                                                                                                        my knowledge.
                                                          "Ihave not committed per1ury in ﬁling my application to
                                                                                                                  be a candidate. lam a U.S. Citizen of
                                                          sound mind; I acknowledge that I was convicted of a
                                                                                                                  felony but my disability has been
                                                          removed based upon me completing my sentence and having
                                                                                                                             my
                                                                                                                           voting             rights restored.
                                                          "l have
                                                                   never tried to mislead the voters of City of Houston or of
                                                                                                                              the United States It is my
                                                          understanding based on upon the City of Houston charter that I
                                                                                                                            am lawfully allowed to hold
                                                          office as a councilmember for my district.

                                                          "I
                                                               promise to uphold the Constitution, respect the laws of the
                                                                                                                              State of Texas, and represent
                                                          my district to the best of my abilities.
                                                          "On  November 6. 2019 I was the second-place contender for the seat
                                                                                                                              in district 8. Renee
                                                          Jefferson-Smidn was the third-place contender.




                                                                                                         CYNT:INA K. BAILEY                     ;




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                                                                                                         Notary Public




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                                                                                                         EXHIBIT

                                                                                                   I       C
                                                                                                       EXHIBIT 1
              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 62 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


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                                                    Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 63 of 83




                                                                                                                   ~
                                                               TEXAS DEPARTMENT OF CRIMINAL JUSTICE
                                                                         Institutional Division




                                                     1442221                000   TNOIZOII7
                                                                       BAILEY. CYNTHIA KAY
                                                                                                          001

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                                                                 Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 65 of 83


                              BAILEY,                                             SUMMARY:
                             Cynthia Kny                                          Reports lmiieute 2 arrests lnvolvlnyo violent offenses-9M ntlult prob Comnl Co. I999 Then
                             It                     M4222   l                     (completed. VERIFIED)--4Y adult prob Hnrrls Co. I998 l-‘org of Financial Instrumem
                                                                                  (completed. VERll-‘IED)-or present 'l'DC.l-CID lll44222l. rec'd I.) state Joli 01Il0I2007. as
                                                       Tmnrkrr and Aulymtenlr     state unnrlhr inmate. maintained clear recortl—clnkne contact wlmother, 5 siblings. and 1
                                                     Date       Place      Work   child (brother. Clllford Earl Bailey. is XITDCJ-CID #1395983; brother. Anthony Lawrence
                                                                                  Bailey. in XITDCJ-CID ll60| 927)-clnlnt: paternal grmdﬂlthcr. paternal ynndtnuhor.
                                                                                  l'Ml¢l'llli mndlitlter. and mmernnl grandmother. nnd lluher   up deceased-claims   l   marital
                                                                                  failure wll child lnvolved—clalrns rllvoned-rel‘er to Adrlt'l [nib (Code #7) dated 09I20I2007
                                                                                  by SYD--

                                                                                  PRESENT OFFENSE SUMMARY:
                                                                                                                  OVER 8200K involves the ntlrjeet and three codefattinnts.
                                                                                  ‘The current offerzu ol'1‘Hl3l-'l'
                                                                                  Louis Lnrnnnte (iiheen yean TDCJ-CID). Valerie alluon (dlnporlxion unknown), and
                                                                                  Lnlrnont Tulalu (lllleen yenn TDCJ-CID). on 06112/2001 through 0210-1/2004. participating
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                                                                                  bank in Lu Vegas. The subject and three oodefendants were arrested. without violence or
                                                                                  injuries involved. and transported to the Harris County Jail. where the subject was unable to
                                                                                  port it $500,000 bond (VERIFIED).

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                                                    Admission Summary
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88088343 Total Pages: 6




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
                                                          Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 70 of 83 11/14/2019 9:24 AM
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                                                                                                                                                       Filed: 11/14/2019 9:24 AM
                                                                                                  NO. 2019-81187
                                                      RENEE JEFFERSON-SMITH                                §        IN THE DISTRICT COURT
                                                      Plaintiff,
                                                                                                           §
                                                                                                           §
                                                      V.
                                                                                                           3
                                                                                                           §        270TH JUDICIAL DISTRICT
                                                      CITY OF HOUSTON, TEXAS; and                          2
                                                      HARRIS COUNTY, TEXAS                                 §
                                                                                                           §
                                                      Defendants.                                          §        OF HARRIS COUNTY, TEXAS
                                                                                 PLAIN TIF F’S RESPONSE TO DEFENDANT’S
                                                                                        PLEA TO THE JURISDICTION
                                                      Plaintiff asks the court to deny defendant’s plea to the jurisdiction and retain plaintiffs suit
                                                    on the court’s docket.

                                                                                                   I.   Introduction

                                                           1.   Plaintiff‘ is Renee Jefferson-Smith;    defendants are the City of Houston, Texas and the
                                                     county of Harris, Texas.

                                                          2.    Cynthia Kay Bailey is an interested Party.

                                                          3. Plaintiff sued defendant for injunctive relief and declaratory judgment.


                                                        4. The court has subject-matterjurisdiction over plaintiffs suit and therefore should
                                                                                                                                              retain
                                                     the suit on the court’s docket and deny defendant’s motion.

                                                                                                        II. Facts


                                                           Cynthia Kay Bailey (“Bailey”) was convicted of theﬁ on June 1, 2007 and sentenced to
                                                          5.
                                                     ten (10) years in the Texas Department of Criminal Justice. This offense is a 15‘ degree
                                                     felony. She served 18 months of that sentence and was released on parole. [Exhibit A]
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                                                     6.    Bailey ﬁled an Application for A Place on The City of Houston November 5, 2019
                                                     General Election Ballot on July 31, 2019. [Exhibit B] On that application, Bailey signed item
                                                     11, a sworn affidavit that swore in particular that”. .I have not been declared totally mentally
                                                                                                                .



                                                     incapacitated or partially mentally incapacitated without the right to vote by a ﬁnal judgment
                                                     from a court exercising probate jurisdiction, nor have I been ﬁnally convicted of a felony for
                                                     which I have not been pardoned or had my full rights of citizenship restored by other ofﬁcial
                                                     actions. .”  .




                                                     7.   On November 6, 2019, the voters in Houston City Council District B cast their votes for
                                                     Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 71 of 83



                                                    councilmember of District B, however, the election vote margin did not give any candidate
                                                    the absolute majority needed to avoid an election runoff. Although the election results are not
                                                    yet ﬁnal and certiﬁed, Candidate Jefferson-Smith received 13.42% of the vote, making her
                                                    the third top candidate in the District B Race which was 1% percentage less than that of the
                                                    number two candidate who appears to be in the runoff at this time.

                                                    8. Plaintiff then ﬁled a veriﬁed petition seeking inj unctive relief and declaratory judgment.
                                                    Plaintiff sought a hearing in ancillary court on November 8, 2019 for a temporary restraining
                                                    order which was denied.     A hearing was scheduled for November 14, 2019 to hear the
                                                    temporary and permanent injunctions.

                                                    9.   On November 11, 2019, Bailey executed an afﬁdavit which was ﬁled in Cause No. 2019-
                                                    81187; Renee Jefferson-Smith v City of Houston, Texas et.al. In this Afﬁdavit of Cynthia K.
                                                    Bailey, Bailey swore,” ...I acknowledge that I was convicted of a felony but my disability
                                                    has been removed based upon me completing my sentence and having my voting rights
                                                    restored...” [Exhibit C]


                                                                                        III.   Argument & Authorities

                                                         10.   When a defendant asks the court to dismiss, the court must overrule the motion unless
                                                    the pleadings and the parties’ evidence clearly demonstrate that the court lacks jurisdiction.
                                                    See Bland Indep. Sch. Dist. v. Blue, 34 S.W.3d 547, 555 (Tex. 2000); see, e.g., State v.
                                                    Sledge, 36 S.W.3d 152, 155 (Tex. App.—-—Houston [lst Dist.] 2000, pet. denied) (trial court
                                                    conducted hearing and received oral testimony, afﬁdavits, exhibits, and stipulations). In
                                                    ruling on the motion, the court is required to construe the pleadings in the plaintiffs favor.
                                                    See Texas Ass ’n of Bus. v. Texas Air Control Bd., 852 S.W.2d 440, 446 (Tex. 1993).

                                                       11. The Interested party, Bailey alleged in her plea to the jurisdiction that this court did
                                                    not have jurisdiction over this case due to mootness. Bailey asserts that the, “... case is moot
                                                    because 1) Texas law prevents her from being removed from the ballot; and 2) Bailey is
                                                    qualiﬁed to hold office.” (Bailey, Page 3 of 9, Paragraph 10).

                                                       12. Defendant’s arguments and factual allegations disputing jurisdiction are untrue and a
                                                    misstatement of Plaintiffs pleadings. First, Bailey is not qualiﬁed to hold ofﬁce. Second, the
                                                    injunctive relief sought was not to remove Bailey from the ballot but to stop the head of the
                                                    canvassing authority from certifying votes until a determination of eligibility had been done.
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                                                      A. As a matter of law, Cynthia K. Bailey is not qualiﬁed to hold office in the state of
                                                    Texas, the claim of mootness is false. Therefore, the Court does have subject matter
                                                    jurisdiction.

                                                         13. There is no question that Bailey is a felon.   She was convicted of theft >=$200,000.
                                                    Bailey and three co-defendants stole $259,971.75 from North Forest Independent School
                                                    District, at the time, one of the poorest school districts in Harris County. [Exhibit D]


                                                      14. Bailey acknowledged her felony in the Afﬁdavit she attached to her Original Answer
                                                    and Plea to the Jurisdiction. (Bailey, Exhibit 1).
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                                                       15. Article 16, Sec. 2 of the Texas Constitution plainly reads,    “EXCLUSIONS FROM
                                                    OFFICE FOR CONVICTION OF HIGH CRIMES. Laws shall be made to exclude from
                                                    office persons who have been convicted of bribery, perjury, forgery, or other high crimes.”
                                                    ‘High crimes’ has been construed by the Supreme Court of Texas to mean, “any offense of
                                                    the same degree or grade as those speciﬁcally enumerated, namely felonies." In re Bazan,
                                                    251 S.W.3d 39, 42 (Tex.2008).

                                                       16. In an effort to implement this provision of the Texas Constitution, the legislature has
                                                    enacted Texas Election Code 141 .001(a)(4) which states that a person must, “have not been
                                                    finally convicted of a felony from which the person has not been pardoned or otherwise
                                                    released from the resulting disabilities...) In her plea, Bailey erroneously asserts that city
                                                    charter supersedes the Texas Election Code 14l.001(a)(4) relying on Texas Election Code
                                                    145.097. However, Bailey mistakenly forgets that the Texas Constitution cannot be
                                                    superseded by a “charter or any ordinance.” (TEX.CONST. art. XI, § 5).

                                                       17. Bailey then furthers this     blunder by failing to understand that under the state
                                                    Constitution, which cannot be superseded by a home-rule charter, she cannot hold public
                                                    office in Texas because she has failed to remove the constitutionally imposed disability i.e.
                                                    the right to hold office. This has been covered thoroughly and was the subject of an Attorney
                                                    General’s Opinion (KP-251) produced by Ken Paxton on May 22, 2019. In the summary of
                                                    that opinion Ken Paxton states,

                                                            ““Subsection 14l.001(a)(4) of the Election Code provides that to be eligible as a
                                                         candidate for public office a person must have not been ﬁnally convicted of a felony
                                                         from which the person has not been pardoned or otherwise released from resulting
                                                         disabilities.” The restoration of a convicted felon’s qualiﬁcation to vote under Election
                                                         Code subsection 1l.002(a)(4)(A) after fully discharging a sentence does not restore his
                                                         or her eligibility to hold public office under Election Code subsection 14l.001(a)(4).”

                                                       18.  Bailey has failed to assert that her disabilities have been removed in any other way
                                                    except through the faulty logic that the home-rule charter supersedes the Texas Constitution
                                                    and state election code, which it clearly does not. Therefore, Bailey is ineligible to hold
                                                    office in the state of Texas.

                                                       B. The injunctive relief sought was not to remove Bailey from the ballot but to stop
                                                    the head of the canvassing authority from certifying votes until a determination of
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                                                    eligibility had been done.


                                                       19. Bailey failed to grasp the nuanced arguments in Plaintiffs original, and I’m sure
                                                    amended, pleadings. Bailey goes through an elaborate showing to try and explain why Bailey
                                                    can’t be removed from the ballot. However, Plaintiff is not asking to remove a candidate
                                                    from the ballot. Plaintiff is seeking to enjoin the head of the canvassing authority from
                                                    certifying the votes. Although this may sound the same it is not. Therefore, Plaintiff need not
                                                    go down the rabbit hole of why Bailey can’t be removed from the ballot.
                                                     Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 73 of 83



                                                                                           IV. Conclusion

                                                       20. Because plaintiffs pleadings establish the court’s jurisdiction, and defendant’s factual
                                                    allegations disputing jurisdiction are untrue, the court should retain plaintiffs suit on the
                                                    court’s docket.

                                                                                              V. Prayer

                                                      21. For these reasons, plaintiff asks the court to deny defendant’s plea to the jurisdiction
                                                    and retain plaintiffs suit on the court’s docket.



                                                                                               Respectfully submitted,




                                                                                               By:
                                                                                                       LAW OFFICE OF N
                                                                                                       Texas Bar No. 24045171
                                                                                                                                ER.BA    S   ~
                                                                                                      Email: famjuv07@yahoo.com
                                                                                                      The Preserve at North Loop
                                                                                                      2010 North Loop West, Suite 175
                                                                                                      HOUSTON, TX 77018
                                                                                                      Tel. (713) 225-1300
                                                                                                      Fax. (713)225-1301
                                                                                                      Attorney for Plaintiff
                                                                                                      RENEE JEFFERSON-SMITH



                                                                                               By:
                                                                                                     DANVAL sc         RouGH\
                                                                                                     State Bar No.   073023
                                                                                                     Dau.r.scarbruughu7/gmail.com
                                                                                                     Attorney for RENEE JEFFERSON-SMITH
CertifiedDocumentNumber:88088339-Page4of4
              Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 74 of 83




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


     Certified Document Number:        88088339 Total Pages: 4




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                                                                 NO. 2019-81187
                                                    RENEE JEFFERSON-SMITH                                §   IN THE DISTRICT COURT
                                                    Plaintiff,                                           §
                                                                                                         §
                                                    V.                                                   §
                                                                                                         §
                                                                                                         §   270TH JUDICIAL DISTRICT
                                                                                                         §
                                                    CITY OF HOUSTON, TEXAS; and HARRIS                   §
                                                    COUNTY, TEXAS                                        §
                                                                                                         §
                                                    Defendants.                                          §   OF HARRIS COUNTY, TEXAS
                                                                  PLAINTIFF’S AMENDED VERIFIED PETITION FOR DECLARATORY
                                                               JUDGMENT AND APPLIQA I ION FOR TEMPORARY RESTRAINING
                                                             ORDER AND TEMPOQRY INJUNCTION, AND PERMANENT INJUNCTION
                                                    TO THE HONORABLE JUDGE OF SAID COURT:
                                                            NOW COMES      PLAINTIFF,     RENEE JEFFERSON-SMITH, Individually and as a Candidate for
                                                    District B, City of Houston, and as a registered voter in District B, City of Houston, who ﬁles this
                                                    Amended Veriﬁed Petition for Declaratory Judgment and Application for Temporary Restraining Order,
                                                    Temporary Injunction, and Permanent Injunction, and in support thereof would respectfully show the
                                                    Court as follows:

                                                                                                    PARTIES
                                                            1.      Plaintiff, RENEE JEFFERSON-SMITH (herein referred to as “Candidate Jefferson-
                                                    Smith”), an Individual, a Candidate for District B, City of Houston, a registered voter in District B, City
                                                    of Houston whose address is 9110 Lavender Street, Houston, Texas 770l6, Houston, Harris County,
                                                    Texas, ﬁles this Amended Veriﬁed Petition for Declaratory Judgment and Application for Temporary
                                                    Restraining Order, Temporary Injunction, and Permanent Injunction. The last three numbers of RENEE
                                                    JEFFERSON-SMITH's driver's license number are 856. The last three numbers of RENEE
                                                    JEFFERSON-SMITH's social security number are 688.

                                                            2.      Defendant, CITY OF HOUSTON (the “City”) is a governmental entity in the State of
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                                                    Texas and may be served with citation for process by serving the City of Houston Secretary, Anna
                                                    Russell, or Acting City of Houston Secretary, Pat Daniels, City of Houston Annex, 900 Bagby Street,
                                                    Room P l0l, Houston, Texas 77002.

                                                             3.     Defendant, HARRIS     COUNTY, TEXAS        (the “County”) is a governmental entity in the
                                                    State of Texas and may be served with citation for service of process by sewing Honorable Lina Hidalgo,
                                                    Harris County, Texas, I001 Preston Street, Suite 91 l, Houston, Texas 77002.

                                                            4.     Defendant, DIANE TRAUTMAN (the “Clerk”) is an independently elected
                                                    governmental ofﬁcial in the County of Harris, State of Texas and may be served with citation for service
                                                    of process by serving Honorable Diane Trautman, Harris County, Texas, 201 Caroline, Third Floor,

                                                                                                         1
                                                        Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 76 of 83



                                                    Houston, Texas 77002.

                                                            5.      Defendant, CYNTHIA       KAY  BAILEY (herein referred to as “Candidate Bailey”), is an
                                                    individual and Candidate for District B, City of Houston, and may be served with citation for service of
                                                    process by sewing Cynthia Kay Bailey at 7830 Flintridge Drive, Houston, Texas 77028, or by serving her
                                                    attorney of record, OLIVER .1. BROWN, The Oliver J. Law Firm, P.L.L.C., 4141 Southwest Freeway,
                                                    Suite 425, Houston, Texas 77027, via E—File at olivcr’ki'theolivcrllawfirm.com,.

                                                             6.      This court has jurisdiction over all of the Defendants because Defendants are
                                                    governmental entities of the State of Texas, elected officials of Harris County, or candidates for public
                                                    office for/in governmental entities of the State of Texas. Further, venue is proper in Harris County, Texas
                                                    pursuant to the provisions of Section 15.001, et eq. Texas Civil Practices and Remedies Code, as all of
                                                    Plaintiffs’ claims arise out of the same transaction, occurrence, or series of transactions or occurrences
                                                    that happened in Harris County, Texas.


                                                                                                      FACTS
                                                             7.      In this amended petition for declaratory judgment and application for temporary
                                                    restraining order, temporary injunction, and permanent injunction now pending in this Court, Plaintiff is
                                                    seeking to enjoin the City of Houston, and the presiding officer/authority of the ﬁnal canvassing authority
                                                    for the office sought by Candidate Bailey, in the District B, City of Houston election, which was held on
                                                    November 5, 2019, from issuing a certiﬁcate of election thus certifying Candidate Bailey as an eligible
                                                    candidate for the runoff election and ballot as she is an ineligible candidate.

                                                            8.     On November 6, 2019, the voters in Houston City Council District B cast their votes for
                                                    councilmember of District B, however, the election vote margin did not give any candidate the absolute
                                                    majority needed to avoid an election runoff. Although the election results are not yet ﬁnal and certiﬁed,
                                                    Candidate Jefferson-Smith received 13.42% of the vote, making her the third top candidate in the District
                                                    B Race which was 1% percentage less than that of the number two candidate who appears to be in the
                                                    runoff at this time.

                                                            9.       Unfortunately, this candidate, is an ex-felon whose disabilities have not been removed
                                                    nor have her rights been restored for the purposes of holding public office. Essentially, being ﬁnally
                                                    convicted of a felony in the State of Texas, disqualiﬁes a candidate from holding public office. The Texas
                                                    Election Code Section 141 .001(a)(4) is equally clear: "To be eligible to be a candidate for, or elected or
                                                    appointed to, a public elective office in this state, a person must have not been finally convicted of a
                                                    felony...."

                                                           On June 1, 2007, Cynthia Kay Bailey was sentenced to ten (10) years in the Texas Department of
                                                    Criminal Justice. She served 18 months of that sentence and was released on parole. (See Exhibit A and
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                                                    redacted Exhibit D, as attached)

                                                             10.     As a convicted felon, Candidate Bailey is not legally entitled to be seated as the next
                                                    Councilmember for District B. Furthermore, she may have perjured herself by falsely asserting on her
                                                    affidavit for public office that she was not an ex-felon. (See Exhibit B, attached)

                                                             11.      In reviewing the history of similar matters in Texas, this candidate should not be in the
                                                    runoff as this will guarantee a victory for the other runoff candidate and deny voters in District B a real
                                                    choice, and the opportunity to choose between two eligible candidates for the position of Councilmember
                                                    for District B, thus ensuring that District B voters are not further disenfranchised.
                                                          Case 4:19-cv-04482 Document 1-2 Filed on 11/14/19 in TXSD Page 77 of 83



                                                                                                    GROUNDS
                                                             12.     Plaintiff along with the voters and citizens of District B will suffer immediate and
                                                    irreparable injury, loss, or damage if Defendant's conduct described above is not enjoined for these
                                                    reasons: Candidate Bailey's disabilities that prevent her from holding an elected oﬁice have not been
                                                    removed either by executive pardon, ajudicial release of disabilities, or by operation of statute.

                                                             13.     “Conviction for a felony in Texas carries with it, besides a judicially determined
                                                    punishment, a deprivation of certain rights of citizenship.” Tex. Att’y Gen. Op. No. H-587 (1975). A
                                                    felony conviction results in the loss of civil rights including “the right to vote, the right to seek and hold
                                                    public office, and the right to sit on a jury.” United States v. Thomas, 991 F.2d 206; 211, 214 (5"‘ Cir.),
                                                    cert denied, 510 U.S. 1014 (1993); United States v. Cassidy, 899 F.2d 543, 549 (6"‘ Cir. 1990).


                                                            Most signiﬁcantly, "Laws shall be made to exclude from ofﬁce... [persons] who have been or
                                                    shall hereaﬁer be convicted of bribery, perjury, forgery, or other high crimes." TEX. CONST. art. XVI, §
                                                    2.   An individual convicted of a felony is thus ineligible to hold public ofﬁce whether the conviction
                                                    comes before or alter the individual's election to ofﬁce. See id.,' TEX. ELEC.CODE § l41.001(4)
                                                                                                                          LOCAL GOV'T
                                                    (individual convicted of a felony ineligible to hold public office); TEX.                    CODE
                                                                                                                                                § 87.031
                                                    (felony conviction operates as an immediate removal from ofﬁce); Op. Tex. Att'y Gen. No. H-20 (1973)
                                                    ("The term ‘other high crimes‘ includes any offense of the same degree or grade as those speciﬁcally
                                                    enumerated, namely fe1onies.") In re Bazan, 251 SW. 3d 39 (Tex. 2008).

                                                            Furthennore, the Court treats the constitutional reference to “other high crimes” as a blanket
                                                    phrase that encompasses all felonies. In re Bazan, 251 S.W. 3d 39 at 41 (Tex. 2008).

                                                            This notion additionally applies to a Home Rule City Charter, wherein a city charter may
                                                    authorize nominations, and prescribe eligibility requirements and or qualiﬁcations of a candidate for
                                                    placement on an election ballot, however, a home rule city charter does not and cannot supersede the
                                                    Texas Constitution, under Art. XVI, Section 2.

                                                            The Home Rule City Charter for the City of Houston presumes that candidates who ﬁle for
                                                    elected ofﬁce and sign the application to be considered a candidate for a city office election are swearing
                                                    under oath that they have not been ﬁnally convicted of a felony, hence the attestation under penalty of
                                                    perjury that is included in the Swom Affidavit encompassed and printed on all Applications for a place on
                                                    the City of Houston November 5, 2019, General Election Ballot. Obviously, if the intent of the Home
                                                    Rule City Charter was to allow ex-felons to seek and hold public ofﬁce in the Home Rule City Charter,
                                                    there would be no need to have a sworn affidavit attesting to no ﬁnal convictions on the application itself.


                                                             Lastly, Article 11. Section 5 of the Texas Constitution speciﬁcally provides that the adoption or
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                                                    amendment of charters is subject to such limitations as may be prescribed by the Legislature, and no
                                                    charter or any ordinance passed under said charter shall contain any provision inconsistent with the
                                                    Constitution of the State, or of the general laws enacted by the Legislature of this State.

                                                             14.    Rights to seek and hold public ofﬁce as well as certain other rights may be restored in
                                                    several ways, including an executive pardon, a judicial release of disabilities, or by operation of statute.
                                                    Easterwood v. Slate, 31 S.W.294, 297 (Tex. Crim. App. 1895) (executive pardon); TEX. CODE CRIM.
                                                    PROC. Art. 42A.701 (judicial release); TEX. ELEC. CODE § 1 1.002 (a)(4)(A)-(B) (restoration of voting
                                                    rights) and TEX. CODE CRIM. PROC. Art. 48.05.


                                                             The procedure for restoration of voting rights in the State of Texas was done statutorily in House

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                                                    Bill 1001, which became effective in law on September 1, 1997, however, a restoration of voting rights,
                                                    aﬁer a convicted felon has completed and discharged their sentence is not the same as the restoration of
                                                    rights to seek and hold public ofﬁce.


                                                             IS.       in contrast, to procedures for convicted felons to restore his or her ability to vote under
                                                    Subsection l1.002(a)(4)(A)-(B); Subsection l41.00l(a)(4) of the Texas Election Code, recognizes gn_ly
                                                    two methods for a convicted felon to be eligible to hold public ofﬁce: a pardon or being released from the
                                                    disability to hold public ofﬁce. Unlike Subsection ll.002(a)(4)(A)—(B), Subsection l41.00l(a)(4) of the
                                                    Texas Election Code does not automatically restore a convicted felon’s eligibility to hold public ofﬁce
                                                    upon completion of the individual’s sentence.    FM   Props. Operating Co. v. City of Austin. 22 S. W.2d 868,
                                                    885 (Tex. 2000) (relying on the principle of statutory construction that the Legislature knows how to
                                                    enact laws effectuating its intent.) Moreover, the restoration of a convicted fe|on’s qualiﬁcation to vote
                                                    under Election Code, subsection l l.002(a)(4)(A) aﬁer fully discharging a sentence does not restore his or
                                                    her eligibility to hold public ofﬁce under the Election Code subsection l41.00l(a)(4); Op. Tex. Att'y Gen.
                                                    No. l(P—025l (2019).

                                                            Multiple courts have concluded that the automatic restoration of the right to vote to a convicted
                                                    felon through the completion of his or her sentence does not also restore his or her eligibility to hold
                                                    public ofﬁce). Op. Tex. Att'y Gen. No. KP-0251 (2019); United State: v.      Huﬁ
                                                                                                                                  370 F.3d 454, 461 (5"‘ Cir.
                                                    2004)(concluding that defendant was not “otherwise released from the resulting disabilities” of his felony
                                                    conviction under subsection l4l .000(a)(4) when his rights to vote and to possess ﬁrearms were restored);
                                                    United States v. Maines, 20 F.3d 1 102, l l04 (l0"‘ Cir. 1994) (holding that although Texas felon‘s right to
                                                    vote in Texas had been restored, subsection l41.00l(a)(4) precluded his seeking and holding ofﬁce).

                                                             16.    Texas statutes provide several methods to obtain a release from disabilities resulting from
                                                    conviction. Judicial clemency or judicial release of disabilities, as contained in the Code of Criminal
                                                    Procedure, Art. 42A.70l, authorizes a judge, in a case in which the defendant has been placed on
                                                    community supervision, to set aside the verdict and dismiss the charging instrument or indictment against
                                                    the defendant, under Art. 42A.70l(f).

                                                              17.     Unlike the restoration of civil rights under Code of Criminal Procedure, Article 48.05,
                                                    which is a fonn of pardon that restores all civil rights under the laws of this state that the individual
                                                    forfeits as a result of the individual’s conviction of an offense. Article 48.05 relates to consideration of a
                                                    request for restoration of civil rights of certain individuals convicted of a federal or military offense, other
                                                    than an offense involving violence or the threat of violence, drugs, or firean'ns.

                                                             18.     Further, the individual must have completed the sentence for the offense; the conviction
                                                    occurred three or more years before the date of request and the individual has not been convicted at any
                                                    other time of an offense under the laws of this state, another state, or the United States.
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                                                            19.      Though Candidate Bailey completed her sentence for the above, mentioned offense in
                                                    2007, it is unclear whether or not Candidate Bailey attempted or was successful at any of the methods to
                                                    obtain a release from her disabilities allowing her to seek and hold public ofﬁce.

                                                            20.      Plaintiff does not have an adequate remedy at law because although the law does address
                                                    civil disabilities imposed on felons it does not speciﬁcally address the eligibility of a candidate to appear
                                                    on the ballot as a candidate. Plaintiff has exercised due diligence in prosecuting this claim. The injury to
                                                    Plaintiff and the citizens of District B if Defendant, Candidate Bailey, continues the conduct described
                                                    above would outweigh any injury the restraining order and injunction might cause Defendants City of
                                                    Houston and Harris County, and issuance of the restraining order and injunction would not disserve the

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                                                    public interest, in fact it would do the opposite in serving the public interest.

                                                            21.      Plaintiff has attached a Sworn Afﬁdavit, (Exhibit C)


                                                                                          SUIT FOR DECLARATORY RELIEF
                                                             22.      Plaintiff seeks declaratory relief as provided in Tex. Civ. Prac. Rem. Code section 37.004
                                                    (a), as the Plaintiff is a person who seeks to have the legal relations affected by a statute or municipal
                                                    ordinance to be determined. Plaintiff seeks to have ajudicial declaration as to whether a candidate that is
                                                    ineligible to be sworn in as an elected member of government may be placed on the ballot in a municipal
                                                    election, and would that placement on the ballot deprive the voters of a municipal district of an actual
                                                    eligible choice in said election.


                                                                        APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                                            23.      Plaintiffs application for a temporary restraining order is authorized by Tex. Civ. Prac.
                                                    & Rem. Code §6S.0l 1(1). Plaintiff is entitled to the relief demanded because Plaintiff is a resident-voter
                                                    of the district affected and is a candidate in the election affected by the presence on the ballot of
                                                    Candidate Bailey. Plaintiff requires the restraint of the certiﬁcation of the November 5, 2019 general
                                                    election votes in District B. Plaintiff requires the restraint of the certiﬁcation of Candidate Bailey as an
                                                    eligible candidate for placement on the ballot in the upcoming runoff election on December 14, 2019.
                                                    Plaintiff requires the restraint of the ﬁnal canvassing authority for the ofﬁce sought from certifying the
                                                    votes received for Candidate Cynthia Kay Bailey, as the candidate is ineligible to hold ofﬁce based on
                                                    Texas Election Code Sec 141.00l(a)(4); Texas Constitution, under Art. XVI, Section 2.

                                                            24.       Plaintiff asks the court to prevent the defendant, City of Houston, as the presiding
                                                    authority,  from certifying the election results placing Candidate Bailey on the runoff ballot and/or
                                                    certifying the votes Candidate Bailey received as she is ineligible to hold ofﬁce based on Texas Election
                                                    Code Sec l4l.00l(a)(4); Texas Constitution, under Art. XVI, Section 2.

                                                            25.     Plaintiff asks the court to declare the Candidate Cynthia Kay Bailey ineligible as a
                                                    candidate for the runoff ballot, or that is entitled to a place on the runoff ballot or to a certiﬁcate of
                                                    election.


                                                            26.      It is probable that plaintiff will recover   from defendant aﬂer a trial on the merits because
                                                    the Plaintiff has standing and would be    harmed by Candidate Bailey. Candidate Bailey is a felon.
                                                    Candidate Bailey’s disabilities have not been removed. Therefore, by statute, Candidate Bailey is not
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                                                    eligible to run for ofﬁce.


                                                             27.    If plaintiffs application is not granted, hann is imminent because Candidate Bailey
                                                    would be placed on the ballot causing a two-fold effect. First, Candidate Bailey’s certiﬁcation to the
                                                    runoff ballot would wrongfully hinder the Plaintiff, an eligible candidate, from being certiﬁed to the
                                                    ballot. Second, if Candidate Bailey is certiﬁed to the runoff ballot it effectively denies the voters of
                                                    District B an electoral choice.


                                                            28.    The harm that will result if the temporary restraining order is not issued is irreparable
                                                    because Candidate Bailey’s certiﬁcation to the runoff ballot would wrongfully hinder the Plaintiff, an
                                                    eligible candidate, from being certiﬁed to the ballot. Additionally, if Candidate Bailey is certiﬁed to the

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                                                    runoff ballot it effectively denies the voters of District B an electoral choice.

                                                            29.      Plaintiff hasno adequate remedy at law because damages are incalculable and the
                                                    statutes do not provide a mechanism for handling a felon that has been certiﬁed for a runoff in violation
                                                    of state law.

                                                            30.      Plaintiffis willing to post bond.


                                                                                     REQUEST FOR TEMPORARY INJUNCTION
                                                            31.      Plaintiff asks the court to set her application for temporary injunction for a hearing and,
                                                    after the hearing, issue a temporary injunction against the defendants.


                                                            32.      Plaintiff has joined all indispensable parties under Texas Rule of Civil Procedure 39.
                                                    Plaintiff has joined the necessary governmental units, elected ofﬁcials and Candidate Bailey.


                                                            33.      Plaintiff asks the court to issue a    temporary injunction against defendant, City of
                                                    Houston, as the presiding authority, from certifying the election results placing Candidate Bailey on the
                                                    runoﬁ° ballot and/or certifying the votes Candidate Bailey received as she is ineligible to hold ofﬁce based
                                                    on Texas Election Code Sec l4l.00l(a)(4); Texas Constitution, under Art. XVI, Section 2.

                                                            34.      Plaintiff asks the court to issue a   temporary injunction against defendant, City of
                                                    Houston, as the presiding authority, from certifying the election results and/or votes of the November 5,
                                                    2019 general election in District B. Plaintiff asks the court to enjoin certiﬁcation of Candidate Bailey as
                                                    an eligible candidate for placement on the ballot in the upcoming runoff election on December 14, 2019.
                                                    Plaintiff asks the court to issue a temporary injunction of the ﬁnal canvassing authority for the office
                                                    sought from certifying the votes received for Candidate Cynthia Kay Bailey, as the candidate is ineligible
                                                    to hold office based on Texas Election Code Sec l4l.00l(a)(4); Texas Constitution, under Art. XVI,
                                                    Section 2.


                                                                                     REQUEST FOR PERMANENT INJUNCTION
                                                            35.      Plaintiff asks the court to set her request for a permanent injunction for a full trial on the
                                                    merits and, after the trial, and issue a permanent injunction against defendant, City of Houston, as the
                                                    presiding authority, from certifying the election results placing Candidate Bailey on the runoff ballot
                                                    and/or certifying the votes Candidate Bailey received as she is ineligible to hold ofﬁce based on Texas
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                                                    Election Code Sec l4l.00l(a)(4); Texas Constitution, under Art. XV1, Section 2.


                                                            36.      Plaintiff asks the court to issue a    permanent injunction against defendant, City of
                                                    Houston, as the presiding authority, from certifying the election results placing Candidate Bailey on the
                                                    runoff ballot and/or certifying the votes Candidate Bailey received as she is ineligible to hold office based
                                                    on Texas Election Code Sec 141 .001(a)(4); Texas Constitution, under Art. XVI, Section 2.

                                                           37.      Plaintiff asks the court to issue a permanent injunction against defendant, City of
                                                    Houston, as the presiding authority, from certifying the election results and/or votes of the November 5,
                                                    2019 general election in District B. Plaintiff asks the court to enjoin certiﬁcation of Candidate Bailey as
                                                    an eligible candidate for placement on the ballot in the upcoming runoff election on December 14, 2019.

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                                                    Plaintiff asks the court to issue a permanent injunction of the ﬁnal canvassing authority for the office
                                                    sought from certifying the votes received for Candidate Cynthia Kay Bailey, as the candidate is ineligible
                                                    to hold ofﬁce based on Texas Election Code Sec 141.001(a)(4); Texas Constitution, under Art. XVI,
                                                    Section 2.

                                                                                              CONDITIONS PRECEDENT
                                                            38.     All conditions precedent have been perfonned or have occurred.

                                                                                                     PRAYER
                                                            39.      Plaintiff prays that the Court issue a temporary restraining order restraining Defendants
                                                    and its ofﬁcers, agents, servants, and employees from directly or indirectly from listing Candidate Bailey
                                                    as a runoff candidate in the upcoming City of Houston Runoff Elections; Plaintiff prays the court issue a
                                                    pennanent injunction against defendant, City of Houston, as the presiding authority, from certifying the
                                                    election results and/or votes of the November 5, 2019 general election in District B. Plaintiff prays the
                                                    court enjoin certification of Candidate Bailey as an eligible candidate for placement on the ballot in the
                                                    upcoming runoff election on December 14, 2019. Plaintiff prays the court to issue a temporary injunction
                                                    of the final canvassing authority for the ofﬁce sought from certifying the votes received for Candidate
                                                    Cynthia Kay Bailey, as the candidate is ineligible to hold ofﬁce based on Texas Election Code Sec
                                                    I41.00l(a)(4); Texas Constitution, under Art. XVI, Section 2.

                                                            Plaintiff prays the court to issue a pennanent injunction of the final canvassing authority for the
                                                    ofﬁce sought from certifying the votes received for Candidate Cynthia Kay Bailey, as the candidate is
                                                    ineligible to hold ofﬁce based on Texas Election Code Sec I41 .00l(a)(4); Texas Constitution, under Art.
                                                    XVI, Section 2.

                                                            40.     Plaintiff be granted reasonable expenses      and attomey fees incurred in obtaining the
                                                    restraining order and injunction; and


                                                            4|.     Plaintiff be granted all further relief to which Plaintiff may be entitled.


                                                                                                       Respectfully submitted,




                                                                                                                             OF NICOLE R. BATES
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 14, 2019


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     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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